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                EXHIBIT M
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                          Second Supplement to Expert Report

                         Fish v. Kobach, No. No. 2:16-cv-02105
                      United States Court for the District of Kansas




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Eitan D. Hersh
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April 25, 2017




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1. Subsequent to my deposition in this matter, I was informed by Defendant’s counsel,

   in an email dated April 18, 2017, that the version of the voter registration file that I

   was previously given was incomplete.

2. I recently received a new copy of a more “complete” voter registration file from

   Defendant’s counsel in this matter, which purportedly includes previously-omitted

   records.

3. I have been asked by Plaintiffs’ counsel to re-perform several of my analyses from

   my earlier reports in this case, using the more “complete” version of Kansas’s voter

   registration file. My results are described below.

4. First, I searched for the 80 individuals whose registration identification numbers were

   identified by Mr. Caskey’s office as also being associated with temporary driver’s

   license records. I linked the registration ID numbers to the voter file and found

   matching records for 76 of the 80 cases.

5. Separately, using my own methodology, 82 records matched in the TDL and voter

   registration files (compared to 62 to their original dataset).




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       6. Below is a table summarizing my findings with respect to Mr. Caskey’s match of the

          TDL and Voter Registration Lists:


    Table 1 - Mr. Caskey’s TDL / Voter Registration List Match: Summary of Findings

Number of Matches Reported By Mr. Caskey                                         80

Number of that Can Be Linked to the Voter File                                   76

Number with “A” (Active) Code                                                    11

Number with “I” (Inactive) Code                                                   3

Number with “S” (Suspense) Code                                                  12

Number with “R” (Canceled) Code                                                  50

Number with “CITZ” (Proof of Citizenship) Code                                   12

Number who Voted                                                                  1

Number with “MV” (Motor Voter) Code                                              25

Number with “MV” (Motor Voter) “A” (Active) Codes                                 8

Number with “MV” (Motor Voter) and “I” (Inactive) Codes                           1

Number with “MV” (Motor Voter) and “S” (Suspense) Codes                           9

Number with “MV” (Motor Voter) and “R” (Canceled) Codes                           7

Number with “MV” (Motor Voter) and                                                1

“CITZ” (Proof of Citizenship) Codes

Number with “MV” (Motor Voter) Code who Voted                                     1

Number with “FO” (Federal Form) Code                                              0




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       7. Below is a table summarizing my own findings with respect to my own match of the

          TDL and Voter Registration Lists:


       Table 2 - Hersh TDL / Voter Registration List Match: Summary of Findings

Number of Matches Found                                                         82

Number with “A” (Active) Code                                                   14

Number with “I” (Inactive) Code                                                 4

Number with “S” (Suspense) Code                                                 17

Number with “R” (Canceled) Code                                                 47

Number with “CITZ” (Proof of Citizenship) Code                                  16

Number who Voted                                                                3

Number with “MV” (Motor Voter) Code                                             25

Number with “MV” (Motor Voter) “A” (Active) Codes                               8

Number with “MV” (Motor Voter) and “I” (Inactive) Codes                         1

Number with “MV” (Motor Voter) and “S” (Suspense) Codes                         10

Number with “MV” (Motor Voter) and “R” (Canceled) Codes                         6

Number with “MV” (Motor Voter) and                                              2

“CITZ” (Proof of Citizenship) Codes

Number with “MV” (Motor Voter) Code who Voted                                   1

Number with “FO” (Federal Form) Code                                            0




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       8. As noted previously, I was provided with a list of voter registration numbers

          associated with 125 individuals that, according to the Kansas Secretary of State,

          correspond to individuals who were non-citizens at the time that they registered or

          attempted to register to vote. Since that time I have been provided with two additional

          numbers, for a total of 127. I have been asked by Plaintiffs’ counsel to locate these

          numbers in the Kansas voter file, and to provide summary information as to various

          codes associated with these records. The table below summarizes my findings:

      Table 3 - Defendant’s List of 127 Cases of Purported Non-Citizen Registration
                                or Attempted Registration

Number of Cases Identified by Defendant                                                   127

Number of Cases Identified by Defendant with Registration ID Numbers                      126

Number that Can Be Located in the Voter File                                              122

Number with “A” (Active) Code                                                             44

Number with “I” (Inactive) Code                                                             4

Number with “S” (Suspense) Code                                                            14

Number with “R” (Canceled) Code                                                            60

Number with “CITZ” (Proof of Citizenship) Code                                             14

Number with “MV” (Motor Voter) Code                                                        34

Number with “MV” (Motor Voter) “A” (Active) Codes                                          13

Number with “MV” (Motor Voter) and “I” (Inactive) Codes                                     1

Number with “MV” (Motor Voter) and “S” (Suspense) Codes                                    10

Number with “MV” (Motor Voter) and “R” (Canceled) Codes                                    10

Number with “MV” (Motor Voter) and “CITZ” (Proof of Citizenship) Codes                      1

Number with “FO” (Federal Form) Code                                                        0


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       9. Last, I was given a list of six individuals who may have been TDL holders, and who

           apparently self-reported in a survey that they were registered to vote. As noted, based

           on only their first and last name, I attempted to identify these individuals in the

           version of the voter file that I initially received. I have now attempted to locate these

           individuals in the completed voter registration file. It still does not appear than any of

           these individuals are listed on the voter file as someone who is a registered voter, was

           a registered voter, or who attempted to be a registered voter.




I declare under penalty of perjury under the laws of the United States that the forgoing is true and
correct to the best of my knowledge.

DATED this 25th Day of April, 2017




                                                      ________________________
                                                      Eitan Hersh




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